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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                 :
JOHN DOE,                                        :
                                                 :
                  Plaintiff,                     :
                                                 :
v.                                               :
                                                 :        CIVIL ACTION NO.______________
UNIVERSITY OF MASSACHUSETTS                      :
AMHERST, LOUIS B. WARD, Assistant Dean :
of Students, sued in his individual and official :
capacities, PATRICIA CARDOSO-ERASE,              :
Associate Dean of Students, sued in her          :
individual and official capacities, DEBORA D.    :
FERREIRA, Title IX Coordinator, sued in her
individual and official capacities,

                 Defendants.

                      MEMORANDUM OF LAW IN SUPPORT OF
                 JOHN DOE’S UNOPPOSED MOTION FOR PERMISSION
                        TO PROCEED UNDER PSEUDONYM

I.     INTRODUCTION

       Plaintiff John Doe (“John”) submits this Memorandum of Law in support of his

contemporaneously filed Unopposed Motion for Permission to Proceed Under Pseudonym.

John, who was a senior at the University of Massachusetts Amherst (“the University” or “UMass

Amherst”) during the 2016-2017 academic year, filed this lawsuit against UMass Amherst and

three of its officials for their grievous mishandling of a false allegation of sexual misconduct.

John now seeks permission to proceed anonymously in order to maintain and protect his privacy

and reputational interests. John also seeks to protect the privacy interests of his accuser and, in

this effort, requests permission to identify her as “Jane Roe” in all of his public filings, as well as

the identities of any potential student witnesses.
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       The claims in John’s Complaint, alleging violations of the due process clause of the U.S.

Constitution and Title IX, arise from the University’s conduct in the course of a confidential

University disciplinary investigation and involve highly sensitive matters personal to the

individual parties involved. Inclusion of John’s name in the Complaint and court filings would

result in the public association of his name with the University’s mishandling of a false

accusation of sexual misconduct, which would be widely available through electronic means,

thereby defeating the very purpose of his suit and causing the severe reputational harm that the

suit seeks to prevent. UMass Amherst does not oppose the Motion; the University and the

individual Defendants are fully aware of John and Jane Roe’s actual identities, and those of

student witnesses, and, as more fully explained below, will not be prejudiced in any way by

John’s use of these pseudonyms for public filings in the case. Well-established precedent

supports permitting John to proceed anonymously.

II.    FACTUAL BACKGROUND

       The facts underlying this lawsuit are set forth in detail in John’s Complaint (filed

contemporaneously with this Unopposed Motion), and will not be repeated here. To summarize

briefly, John has completed all the course work and earned all the credits required for his

undergraduate degree, and the University informed him last month that he graduated. Yet,

Defendants are now seeking to schedule a disciplinary hearing – after John has permanently left

campus and witnesses have dispersed – about an allegation of a sexual incident known to them

for almost eleven months. (Compl. ¶ 1). But all of this comes too late. The University Code of

Student Conduct (the “Code”), under which Defendants seek to charge John, does not apply

because he is no longer a student at the University. By its plain terms (in a provision titled

“Jurisdiction”), the Code only applies to “any student enrolled in or accepted for an academic

course or program.” Other sections of the Code also indicate that it applies to current enrollees
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only, with the limited exception of students who have withdrawn from the University. It does

not apply to graduates, like John. (Id. ¶¶ 2-3).

       In any event, Defendants’ failure to hold a timely hearing remains unexplained and is

entirely Defendants’ responsibility as they have long known of the accusation. (Id. ¶ 11).

Defendants first learned of the allegation no later than November 2, 2016, when a female UMass

Amherst undergraduate student, Jane Roe, reported an alleged sexual incident occurring on

September 2, 2016. Despite the passage of more than 330 days following Jane Roe’s report,

Defendants failed to even attempt to convene a hearing. By delaying in this fashion, a fair

hearing is no longer possible. (Id. ¶ 4).

       Because the academic school year has ended, students who could have been potential

witnesses on John’s behalf at the hearing have left campus and are no longer available for a

hearing. Witnesses who graduated will never return. John himself has moved to his first full-

time job, in a new city and state, and will be substantially prejudiced in his career by having to

prepare for and participate in a hearing while just starting his new job. Memories of witnesses

have surely faded due to Defendants’ arbitrary and capricious delay in scheduling a hearing,

which has further prejudiced John. Defendants knew that John would be graduating and acted

with deliberate indifference to his future and career prospects. (Id. ¶ 8). Yet, on June 16, 2017 –

after the school year had ended, after John had permanently moved to another state for his first

full-time job, and after witnesses had left campus, Defendants notified John that his case was

being sent to a Conduct Hearing Board, notwithstanding the obvious prejudice to John. John did

not receive this notice until June 24, 2017. (Id. ¶ 19). On October 6, 2017, the University sent

John a notice of hearing to take place in 12 days – on October 18, alleging two violations of the




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Code of Student Conduct, for an incident alleged to have taken place on September 2, 2016,

more than a year ago. (Id. ¶ 20).

        Students like John who have left the University for new jobs, particularly at distant

places, have no ability to meaningfully participate in the process. And, although the University’s

procedures purport to give students the protection of an evidentiary hearing, that protection is

illusory if the student does not have a practical ability to call witnesses. (Id. ¶ 28). Because they

failed to convene a hearing with witnesses present on campus, Defendants already have deprived

John of a fair hearing. (Id. ¶ 9).

        Besides their unconscionable delay in holding a hearing, Defendants have deprived John

of due process and violated Title IX in multiple other ways, including (a) mandating that the

investigator assigned to John’s case serve in the dual conflicting roles of investigator of Jane

Roe’s allegations and advocate for Jane Roe as the “victim,” (b) impeding John’s ability to

prepare his defense and failing to obtain critical evidence and witness statements, (c)

intimidating potential witnesses, (d) imposing punitive interim restrictions on John, (e)

improperly disclosing John’s confidential information, and (f) implementing procedures for

investigations and hearings in sexual misconduct cases like John’s that are intentionally

permeated with gender bias. (Id. ¶¶ 33, 35-57, 70-84). As a result, John seeks temporary,

preliminary, and permanent injunctive relief barring any further disciplinary proceedings,

including a hearing, and compensatory damages. (Id. ¶ 93).

III.    ARGUMENT

        This Court should grant John’s Motion in order to prevent the unnecessary disclosure of

his identity, as well as that of Jane Roe, his accuser in the underlying disciplinary proceeding,

and any student witnesses. Maintaining the confidentiality of John and Jane Roe’s identity will


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protect their privacy and reputational interests, guard against the imposition of additional injury

to John, and will not disadvantage UMass Amherst.

       A.      General Principles Governing Pseudonymous Filings

       Although Fed. R. Civ. P. 10(a) requires that a complaint name all parties, district courts

in this Circuit and across the country have long permitted parties to use pseudonyms when

necessary to protect privacy and reputational interests. This Court has stated that, in order to

excuse a party from the requirement of Fed. R. Civ. P. 10(a), the court “must assess ‘whether the

plaintiff has a substantial privacy right which outweighs the customary and constitutionally-

embedded presumption of openness in judicial proceedings.’” MacInnis v. Cigna Group Ins. Co.

of America, 379 F. Supp.2d 89, 90 (D. Mass. 2005), citing Doe v. Bell Atl. Bus. Sys. Servs., 162

F.R.D. 418, 420 (D. Mass. 1995) (“Courts have allowed plaintiffs to proceed anonymously in

cases involving social stigmatization, real danger of physical harm, or where the injury litigated

against would occur as a result of the disclosure of plaintiff’s identity.”); Doe v. Brandeis Univ.,

No. 1-15-cv-11557-FDS (D. Mass June 17, 2015) (permitting use of pseudonym because

student-plaintiff could be subjected to “social stigmatization” if his identity were disclosed in

lawsuit against university which found him responsible for sexual assault); see also Doe v.

Frank, 951 F.2d 320, 323 (11th Cir. 1992) (“The ultimate test for permitting a plaintiff to

proceed anonymously is whether the plaintiff has a substantial privacy right which outweighs the

‘customary and constitutionally-embedded presumption of openness in judicial proceedings.’”)

(citation omitted); Doe v. Provident Life & Acc. Ins. Co., 176 F.R.D. 464, 467 (E.D. Pa. 1997)

(“litigants may have a strong interest in protecting their privacy”); Doe v. Von Eschenbach, 2007

WL 1848013 , at *1 (D.D.C. June 27, 2007) (noting that the use of pseudonyms “has been

permitted where the issues are matters of a sensitive and highly personal nature” and observing

that “the presumption of openness” must be balanced with the “plaintiff’s privacy rights”)
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(citation omitted); Doe v. Blue Cross & Blue Shield of Rhode Island, 794 F. Supp. 72, 73 (D.R.I.

1992) (court refused to “strip plaintiff of the cloak of privacy which shields him from the

stigmatization [of his status as a transsexual] he might otherwise endure”).

       This Court in Doe v. Word of Life Fellowship, Inc., 2011 WL 2968912, at *1 (D. Mass.

July 18, 2011), noted with approval the factors set forth by the United States District Court for

the Eastern District of Pennsylvania in Doe v. Provident Life, supra, to determine whether or not

to disclose a litigant’s identity. See also Doe v. Standard Insurance Company, 2015 WL

5778566 , at *3 (D. Me. Oct. 2, 2015) (using Provident Light factors in deciding to grant

plaintiff’s motion to proceed under a pseudonym).

       The non-exhaustive list of factors in that case weighing in favor of anonymity includes

the following:

                 (1) the extent to which the identity of the litigant has been kept
                 confidential;

                 (2) the bases upon which disclosure is feared or sought to be
                 avoided, and the substantiality of these bases;

                 (3) the magnitude of the public interest in maintaining the
                 confidentiality of the litigant’s identity;

                 (4) whether, because of the purely legal nature of the issues
                 presented or otherwise, there is an atypically weak public interest
                 in knowing the litigant’s identity[y];

                 (5) the undesirability of an outcome adverse to the pseudonymous
                 party and attributable to his refusal to pursue the case at the price
                 of being publicly identified; and

                 (6) whether the party seeking to sue pseudonymously has
                 illegitimate ulterior motives.

Doe v. Provident Life, 176 F.R.D. at 467-68.




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        Conversely, among the factors which militate against the use of a pseudonym are the

following:

               (7) the universal level of public interest in access to the identities
               of litigants;

               (8) whether, because of the subject matter of this litigation, the
               status of the litigant as a public figure, or otherwise, there is a
               particularly strong interest in knowing the litigant’s identit[y],
               beyond the public’s interest which is normally obtained; and

               (9) whether the opposition to pseudonym by counsel, the public, or
               the press is illegitimately motivated.

Id. at 468.

        B.     The Factors Used by the Courts to Determine Whether to Permit Filing
               Anonymously Heavily Weigh in John’s Favor

        The factors used by district courts to determine whether to permit filling under a fictitious

name heavily weigh in John’s favor. John has a substantial privacy right which outweighs the

public’s interest in access to identities of litigants and the customary presumption of openness in

judicial proceedings. Because this case seeks relief from the University’s mishandling of sexual

misconduct proceedings against John, John has a reasonable fear that he will suffer personal and

social repercussions and reputational harm if he is denied the opportunity to pursue this action

without a pseudonym. Although the public has a legitimate interest in the legal issues John

raises in his Complaint – including issues of fairness, the right of male students accused of

sexual misconduct to a process that is free of bias and gender discrimination, and the due process

rights owed by colleges and universities to accused students in sexual misconduct disciplinary

proceedings – John’s actual identity is of minimal importance to the public. The injury to John’s

reputation and the grievous personal harm that he seeks to avoid through this action would occur

if he is forced to disclose his identity. John is not a public figure, and having his identity

publicly disclosed would serve as a deterrent in asserting his rights in this action, and would have
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a chilling effect on others who are similarly situated. John has maintained the confidentiality of

his identity and has revealed information about the student disciplinary proceedings to which he

was subjected only to a small inner circle of persons with a need to know.

         This Court has consistently permitted plaintiff-students like John to proceed under a

pseudonym in lawsuits against their colleges and universities for alleged mishandling of sexual

misconduct disciplinary proceedings. See, e.g., Doe v. Williams College, No. 3:16-cv-30184 (D.

Mass. Nov. 29, 2016); Doe v. Western New England Univ., No. 3:15-cv-30192 (D. Mass. Feb. 2,

2016); Doe v. Clark Univ., No. 4:15-cv-40113 (D. Mass. Feb. 3, 2016); Doe v. Amherst College,

No. 3:15-cv-30097 (D. Mass. June 30, 2015); Doe v. Amherst College, No. 3:14-cv-30114 (D.

Mass. July 15, 2014); Doe v. Williams College, No. 1:13-cv-11740 (D. Mass. Sept. 5, 2013).

         John addresses each factor below.

         First, John has a substantial privacy right which outweighs the public’s interest in access

to identities of litigants and the customary presumption of openness in judicial proceedings.

Courts across the country have held that cases dealing with alleged student sexual misconduct

involve matters of a “sensitive and highly personal nature” that satisfy the “substantial privacy”

factor, and a significant number of colleges and universities have recognized this right by not

opposing plaintiffs’ motions to proceed anonymously. See, e.g.,14 cases cited in footnote 2,

infra.

         Second, although there is a significant public interest in the legal issues raised in John’s

Complaint – and in similar complaints brought by an increasing number of accused students who

have been forced (like John) to assert their rights in the courts against their schools for wrongful

student disciplinary actions – the public has little interest in knowing, and no compelling need to

know, the actual identities of the student-litigants. There is an “atypically weak public interest in



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knowing the litigants’ identities” due to the “purely legal nature of the issues presented.” Doe v.

Del Rio, 241 F.R.D. 154, 157 (S.D.N.Y. 2006). Moreover, protecting John’s identity” will not

impede the public’s ability to follow the proceedings.” Doe v. Evans, 202 F.R.D. 173, 176 (E.D.

Pa. 2001); accord Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. 1981) (“Party anonymity [will] not

obstruct the public’s view of the issues joined or the court’s performance in resolving them.”).

John only seeks to protect his identity and the identity of his accuser. All filings submitted to the

Court will be a matter of public record, and will be available for public review.

        Third, if John is forced to disclose his identity in this action, the very “injury litigated

against would occur as a result of the disclosure of plaintiff’s identity.” Doe v. Bell Atl., 162

F.R.D. at 420; Doe v. Rostker, 89 F.R.D. 158, 161-62 (N.D. Cal. 1981) (observing that a plaintiff

may proceed pseudonymously if disclosure of his or her name would “indelibly connect” the

plaintiff to a “stigmatizing characteristic[ ]” that “would vitiate the interest [the plaintiff] seek[s]

to protect.”). If John’s identity becomes a matter of public record, the negative publicity it

would bring to John would entirely defeat the purpose of the suit, which is to avoid the harm to

his reputation and educational and employment prospects from the University’s biased and

irreparably tainted investigation and disciplinary process. 1 If he is forced to prosecute the case in

his own name, such disclosure would serve only to augment such harm and render useless the

suit’s primary aim.


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        “In the context of academic discipline, the possibility that a disciplinary violation will
interfere with later opportunities for higher education and employment is so clear as to almost be
a truism. To be sure, plaintiff’s disciplinary records are considered confidential under the Family
Educational Rights and Privacy Act 20 U.S.C. § 1232g, but this information can be shared with
plaintiff’s authorization. Thus, if plaintiff seeks education or employment with institutions or
organizations that require disclosure of such records, plaintiff’s only options are to forgo
opportunities with those institutions or organizations or to authorize the dissemination of records
that would likely foreclose plaintiff’s ability to pursue such opportunities because of the
allegedly defamatory nature of the records.” George Mason U., 149 F. Supp. 3d at 614, n.9
(internal citations and quotations marks omitted).
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        Fourth, there is significant public interest in maintaining the confidentiality of John and

Jane Roe’s identities. Courts have found the public interest is served in protecting the identities

of parties when the issues involved are matters of a private, highly sensitive nature, and forcing

the plaintiff to reveal his or her identity would deter the plaintiff or similar litigants from

asserting their rights. Courts have determined that there is a substantial public interest in

ensuring that cases involving important issues like those in John’s case are adjudicated “without

the risk of stigmatization.” See Doe v. Swarthmore Coll., No. 2:14-cv-00532-SD (E.D. Pa. Jan.

29, 2014) (granting motion to proceed under pseudonym finding the plaintiff’s application of the

Provident Life factors to his case “compelling”); D.M. v. County of Berks, 929 F. Supp.2d 390,

402 (E.D. Pa. 2013) (finding that “disallowing anonymity would likely deter those who have

been falsely accused of sexual abuse from vindicating their rights”); Doe v. Hartford Life and

Acc. Ins. Co., 237 F.R.D. 545, 550 (D.N.J. 2006) (allowing plaintiff to proceed using a fictitious

name where disclosure of plaintiff’s bipolar disorder would risk stigmatization in his community

and career); Doe v. Evans, 202 F.R.D. at 176 (finding public has interest in protecting sexual

assault litigants so that other victims will sue to vindicate their rights); Roe v. Borup, 500 F.

Supp. 127, 130 (E.D. Wis. 1980) (allowing use of fictitious name in case alleging false

allegations of child sexual abuse); Doe v. Std. Ins. Co., 2015 WL 5778566, at *3 (“To deny

Plaintiff’s request ... might not only prevent Plaintiff from proceeding on her claim, but might

also discourage others who suffer from a serious mental health condition from asserting their

claims for mental health benefits to which they are entitled….”).

        John initiated this action to avoid the severe personal, reputational, educational, and

economic harm he will suffer if the University’s disciplinary proceedings are not halted. If

John’s only avenue of recourse is public disclosure of his identity, he will sustain further



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humiliation, reputational harm, and public disgrace. Accordingly, this factor weighs in favor of

allowing John to proceed anonymously.

       Fifth, John has taken scrupulous steps to keep his identity confidential. John has not

disclosed his involvement in this matter beyond immediate family and attorneys retained to offer

counsel. Further, as alleged in the Complaint, UMass Amherst instructs parties involved in

sexual misconduct proceedings that “[a]ll members of the community are expected to …

maintain appropriate privacy for investigations,” and provides that “[a]ll proceedings under the

[Code] shall be confidential.” (Compl. ¶ 71). UMass Amherst also is prohibited pursuant to

federal law from disclosing John’s identity and records related to his disciplinary proceedings to

third parties without John’s consent. See Family Educational Rights and Privacy Act, 20 U.S.C.

§ 1232g (protecting the privacy interests of student education records). This factor weighs in

John’s favor.

       Sixth, John has no illegitimate or ulterior motive in seeking relief from the University’s

conduct and intends to keep Jane Roe’s identity confidential as well.

       The factors militating against the use of a pseudonym are correspondingly weak. John

is not a public figure, and as noted, although there are may be a significant public interest in the

subject matter of John’s case, there is not a strong interest in knowing John’s identity. The only

factor which arguably militates against allowing John to proceed under a pseudonym is the

general public interest in access to the identities of litigants. However, this public interest is

present in all civil actions and does not outweigh the factors in support of anonymity if they are

found (as here) to “tip in favor of plaintiff’s use of a pseudonym.” Doe v. Provident Life, 176

F.R.D. at 469.




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        Finally, UMass Amherst will not be unfairly disadvantaged in defending this case if John

proceeds anonymously. Numerous federal courts have allowed student plaintiffs, like John, to

proceed under a pseudonym in cases against their colleges and universities for alleged

mishandling of sexual misconduct proceedings, and a substantial number of colleges and

universities have not opposed such motions. 2 Further, unlike other cases where prejudice to the

defendant was a concern because the defendant did not know the plaintiff’s identity, UMass

Amherst knows John’s actual identity and will be entitled to the same full discovery just as if

John was litigating under his own name. See, e.g., Roe v. Aware Woman Ctr. For Choice, Inc.,

253 F.3d 678, 687 (11th Cir. 2001) (“The only justification the defendants offer for stripping Roe


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                  See, e.g., Doe v. Alger, 317 F.R.D. 37, 38-42 (W.D. Va. 2016) (holding plaintiff’s
“privacy interest outweighs the presumption of the openness of judicial proceedings”); Doe v. Columbia
Univ., 101 F. Supp. 3d 356, 360 n.1 (S.D.N.Y. 2015) (“Columbia consented to Plaintiff’s request to
proceed pseudonymously in light of the sensitive subject matter and the age of the students involved.”);
Doe v. Univ. of the South, 687 F. Supp. 2d 744, 764 (E.D. Tenn. 2009) (upholding the magistrate’s order
granting motion to proceed under pseudonym in a case where plaintiff, a college male, was found
responsible for sexually assaulting a female classmate); Doe v. Univ. of Notre Dame, 3:17-cv-00298
(N.D. Ind. May 8, 2017) (granting unopposed pseudonym motion after balancing factors and finding
plaintiff has privacy interest “so substantial as to outweigh the customary … presumption of openness in
judicial proceedings”); Doe v. Trs. of Univ. of Pennsylvania, 2:16-cv-05088-JP (E.D. Pa. Sept. 26, 2016)
ECF Doc. No. 12 (granting motion for pseudonym, noting the plaintiff “has a legitimate fear or
significant harm should the preliminary finding of his responsibility for a sexual assault be made public”);
Doe v. Colgate Univ., 2016 U.S. Dist. LEXIS 48787, at *11 (N.D.N.Y. Apr. 12, 2016) (finding balancing
of all factors weighs in favor of permitting plaintiff to proceed under pseudonym); Doe v. Washington &
Lee Univ., 2015 U.S. Dist. LEXIS 102426 (W.D. Va. Aug. 5, 2015) (allowing plaintiff to proceed under
pseudonym, with no indication on docket of opposition); Doe v. Brandeis Univ., No. 1:15-cv-11557-FDS
(D. Mass. June 17, 2015) ECF Doc. No. 16-1 (granting motion to proceed under pseudonym, noting that
“[t]he current record suggests that plaintiff could be subject to ‘social stigmatization’ . . . if his name is
revealed”); Doe v. Univ. of S. Fla. Bd. of Trs., No. 8:15-cv-682-T-30EAJ (M.D. Fla. May 29, 2015)
(allowing plaintiff to proceed anonymously); Doe v. Reed Institute, No. 3:15-cv-617 (D. Or. Apr. 14,
2015) ECF Doc. No. 9 (granting plaintiff’s unopposed motion to proceed under pseudonym); Doe v.
Swarthmore College, No. 2:14-cv-00532-SD (E.D. Pa. Jan. 29, 2014), ECF. Doc. No. 3 (granting motion
to proceed under pseudonym finding the plaintiff’s application of the Provident Life factors to his case
“compelling”); Doe v. Washington & Lee Univ., No. 6:14-cv-00052-NKM-RSB (W.D. Va. Dec. 12,
2014) ECF Doc. No. 13 (noting an oral order granting plaintiff’s motion to proceed under pseudonym);
Doe v. Univ. of Colo., Boulder, No. 1:14-cv-03027-RM-MEH (D. Colo. Nov. 7, 2014) (proceeding
pseudonymously throughout the case); Doe v. George Washington Univ., No. 1:11-cv-00696-RLW
(D.D.C. Apr. 8, 2011), ECF Doc. No. 2 (order granting accused student plaintiff’s motion to proceed
under pseudonym).


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of her privacy is the argument that they will not be able to adequately conduct discovery without

knowing her true identity. However, that argument is eviscerated by Roe’s offer to disclose her

name to the defendants for discovery purposes on condition that they do not disclose it to the

general public.”); Does I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1068 (9th Cir.

2000) (“The court must also determine the precise prejudice at each stage of the proceedings to

the opposing party, and whether proceedings may be structured so as to mitigate that

prejudice.”).

III.   CONCLUSION

       For the foregoing reasons, Plaintiff John Doe respectfully requests that the Court grant

his Unopposed Motion for Permission to Proceed Under Pseudonym.


                                             Respectfully submitted,

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Dated: October 11, 2017                     Attorneys for Plaintiff John Doe



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                                CERTIFICATE OF SERVICE

        I hereby certify under the penalties of perjury that the foregoing Plaintiff’s Motion for
Permission to Proceed Under Pseudonym, together with Memorandum in Support and proposed
Order, filed through the EFC system, will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing (NEF) on October 11, 2017, and that I have caused a
true and correct copy of the foregoing to be served on October 11, 2017 by electronic mail and
overnight delivery to the following:

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